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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF SOUTH CAROLINA
                              CHARLESTON DIVISION

                                             )
IN RE: AQUEOUS FILM-FORMING                  )       MDL No. 2:18-mn-2873-RMG
FOAMS PRODUCTS LIABILITY                     )
LITIGATION                                   )       CASE MANAGEMENT ORDER NO. 16a
                                             )
                                             )       This Order Relates to All Actions
                                             )

        AMENDED SCHEDULE FOR BRIEFING DISPOSITIVE MOTIONS ON
                 GOVERNMENT CONTRACTOR DEFENSE

       The Court amends Case Management Order (“CMO”) No. 16, paragraph B only, to set the

following schedule for briefing of dispositive motions concerning the Government Contractor

Defense. 1

              a.      Opening motion and briefs to be filed on or before: November 5, 2021

              b.      Response briefs to be filed on or before:               December 22, 2021

              c.      Reply briefs to be filed on or before:                  January 21, 2022



       AND IT IS SO ORDERED.

                                                               s/ Richard Mark Gergel
                                                               Richard Mark Gergel
                                                               United States District Judge

August 25, 2021
Charleston, South Carolina




1
  Nothing in this order prohibits the parties from bringing other dispositive motions pursuant to
the procedures set forth in Case Management Order 2.

                                                 1
